




NO. 07-07-0013-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 8, 2007

______________________________



BYRICE SANSOM, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 242
ND
 DISTRICT COURT OF HALE COUNTY;



NO. B16693-0603; HONORABLE ED SELF, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ. 

MEMORANDUM OPINION

Pending before this Court is appellant’s motion to dismiss his appeal. &nbsp;Appellant and his attorney both have signed the document stating that appellant withdraws his appeal. &nbsp;Tex. R. App. P. 42.2(a). &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



Do not publish.


